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IN THE UNITED STATES DISTRICT COURT CLERK

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FOR THE NORTHERN DISTRICT OF OHIO

UNITED STATES OF AMERICA,

Plaintiff,

Vv.

FRANK ROBERT SLIPCEVIC, JR.,

JAMES OH GOOD,
RYAN JOSEPH BLAKE,

Defendants.

EASTERN DIVISION
) INDICTMENT
)
)
> 4225 CR 00088
) CASENO.
) Title 21, United States Code,
) Sections 841(a)(1), (b)C1)(C),
) and 846; and Title 18, United
) States Code, Sections 922(g)(1),
) and 924(a)(8), and Section 2
)

COUNT! JUDGE CALABRESE

(Conspiracy to Distribute and Possess with Intent to Distribute

The Grand Jury charges:

a Controlled Substance, 21 U.S.C. § 846)

1. On or about October 9, 2024, and continuing through October 21, 2024, in the

Northern District of Ohio, Eastern Division, Defendants FRANK ROBERT SLIPCEVIC, JR.,

JAMES OH GOOD, RYAN JOSEPH BLAKE, and others known and unknown did knowingly

and intentionally combine, conspire, confederate, and agree together and with each other and

with diverse others known and unknown to the Grand Jury to distribute and possess with intent

to distribute a mixture and substance containing a detectable amount methamphetamine, a

Schedule II controlled substance, in violation of Title 21, United States Code, Sections 846,

841(a)(1) and (b)(1)(C).
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COUNT 2
(Distribution of a Controlled Substance,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:

2. On or about October 9, 2024, in the Northern District of Ohio, Eastern Division,
Defendant JAMES OH GOOD, and FRANK ROBERT SLIPCEVIC, JR., did knowingly and
intentionally distribute a mixture and substance containing a detectable amount
methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 3
(Distribution of a Controlled Substance,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
The Grand Jury further charges:

3. On or about October 11, 2024, in the Northern District of Ohio, Eastern Division,
Defendant JAMES OH GOOD did knowingly and intentionally distribute a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II controlled
substance, in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 4
(Distribution of a Controlled Substance,
21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:
4, On or about October 21, 2024, in the Northern District of Ohio, Eastern Division,

Defendants FRANK ROBERT SLIPCEVIC, JR., and RYAN JOSEPH BLAKE did knowingly

and intentionally distribute a mixture and substance containing a detectable amount
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methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States
Code, Sections 841(a)(1) and (b)(1)(C), and Title 18, United States Code, Section 2.

COUNT 5
(Felon in Possession of Firearm, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury further charges:

5. On or about October 22, 2024, in the Northern District of Ohio, Eastern Division,
Defendant JAMES OH GOOD, knowing he had previously been convicted of a crime punishable
by imprisonment for terms exceeding one year, that being: Felonious Assault, on or about
December 7, 2020, in Case Number 2020 CR 00176, in Ashtabula County Common Pleas Court,
knowingly possessed in and affecting interstate commerce a firearm, to wit: a Beistegui
Hermanos, model 1905 “Bulwark,” a .25 caliber, semiautomatic handgun, bearing serial number
1948, said firearm having been shipped and transported in interstate commerce, in violation of
Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

COUNT 6
(Felon in Possession of Ammunition, 18 U.S.C. §§ 922(g)(1) and 924(a)(8))

The Grand Jury further charges:

6. On or about January 31, 2025, in the Northern District of Ohio, Eastern Division,
Defendant RYAN JOSEPH BLAKE, knowing he had previously been convicted of crimes
punishable by imprisonment for terms exceeding one year, those being: Illegal Manufacture of
Drugs and Aggravated Possession of Drugs, on or about August 25, 2015, in Case Number 2015
CR 239, in Ashtabula County Common Pleas Court; Domestic Violence, on or about May 18,
2023, in Case Number 2022 CR 00658, in Ashtabula County Common Pleas Court, knowingly
possessed in and affecting interstate commerce ammunition, to wit: three G.F.L 9mm rounds,

and one S&W .40 caliber round, said ammunition having been shipped and transported in
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interstate commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and
924(a)(8).

FORFEITURE

The Grand Jury further charges:

7. For the purpose of alleging forfeiture pursuant to Title 21, United States Code,
Section 853, Title 18, United States Code, Section 924(d)(1), and Title 28, United States Code,
Section 2461(c), the allegations of Counts 1 through 6 are incorporated herein by reference. As a
result of foregoing offenses, Defendants FRANK ROBERT SLIPCEVIC, JR., JAMES OH
GOOD, RYAN JOSEPH BLAKE shall forfeit to the United States, any and all property
constituting, or derived from, any proceeds they obtained, directly or indirectly, as the result of
the drug offenses; any and all of property used - or intended to be used - in any manner or part, to
commit or to facilitate the commission of the drug offenses; and any and all firearms and
ammunition involved in or used in the commission of the firearms offenses; including, but not
limited to, the following:

A. a Beistegui Hermanos, model 1905 “Bulwark,” a .25 caliber, semiautomatic
handgun, bearing serial number 1948; and

B. One Remington 9mm pistol magazine, with three G.F.L 9mm rounds, and one

Smith & Wesson 40 caliber round.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
